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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:05CR145
                              )
          v.                  )
                              )
CAESAR HINOJOSA,              )                        ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised defendant wishes to enter a

plea.   Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                 Thursday, April 27, 2006, at 10:30 a.m.,

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        The ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.            The additional time

between April 24, 2006, and April 27, 2006, shall be deemed

excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 18th day of April, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
